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TO: Police Chief Charles MacClelland May eect of Texas
Houston Police Department
1200 Travis Street eX 0 8 2013

Houston, TX 77002

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SUBJECT: SPECTRUM ANALYZER REQUIRED IMMEDIATELY to Record Physical Evidentiary to File an"

Injunction to Cease and Desist ‘SLOW-KILL NO-TOUCH’ Torture by Rogue HUMINT Operatives
Populating Control Rooms and Affixing ‘AI/SIMM GAME CONSOLE ON CENTERPOINT’ Clamped
on My Brain Magnetite While Preventing Illegal Extraction/Distribution of the Unbreakable Encryption
Scheme per 1988 Top Secret Progam at Rockwell International to IGNITE A NUCLEAR SUITCASE in
the City of Houston UNDETECTABLE BY THE HOUSTON POLICE DEPARTMENT.

TOPIC: Usurpation by Former U.S. President George Scherff Jr/aka George Herbert Walker Bush Sr and the
Bavarian [Illuminati Including Up to 100 Operation Paperclip Clones and Rogue HUMINT Operatives of
a 1988 Top Secret Program at Rockwell International That Marked My Family Bloodline as Yielding the
Unbreakable Encryption Scheme Using Satellite-Powered Directed Energy Waveforms Off My Body as
the Fundamental Cause of the 9/11 Terrorist Attacks on New York City and the Pentagon.

REF #1: Special Intelligence Report (SIR), Case Incident No. 010203812-A, 24 January 2012,

Criminal Intelligence Division, Houston Police Department, downtown Headquarters.
REF #2: Central Intelligence Agency (CIA) FOIA CASE #P-2012-01261, Appeal Granted, 25 October 2012.
DATE: 08 April 2013

Dear Police Chief Charles MacClelland,

Your urgent reply is immediately requested. A spectrum analyzer is required immediately by the Houston Police
Department to detect and record physical evidentiary regarding satellite-powered directed energy attacks by rogue
HUMINT operatives to allow citizens in the city of Houston to:

1) file a crime report and/or an injunction to cease and desist ‘SLOW-KILL NO-TOUCH’ torture by rogue control
rooms with or without permits and affixing ‘AI/SIMM GAME CONSOLE ON CENTERPOINT? clamped on
their brain magnetites for leverage to extort.

2) prevent illegal extraction / distribution of the next generation of unbreakable encryption schemes taken off the
bodies of individuals having bloodlines with the oldest, rarest, and most complete set of haplgroups using
dangerous waveforms via satellite per 1988 top secret program at Rockwell International that I worked on that
marked my family bloodline, recently truth-roomed by CIA to be the exact bloodline to Jesus and Mary
Magdalene and the ‘longest-running lineage on Earth’, as yielding the unbreakable encryption scheme which is
the all-time penultimate weapon system component affecting the entire nuclear arsenal, unmanned aerial vehicle
(UAV) or drone program, state-of-the-art missile systems, et al, that helped win the Cold War in 1991.

3) prevent the remote ignition of nuclear ordnance, specifically a nuclear suitcase bomb, of which | reported the
intelligence gathered via psychotronic communication in the so-called NWO Psychotronic Pipe managed by
CIA’s Special Activities Division regarding five (5) nuclear suitcase bombs already implemented along the
northshore of the Port of Houson accessible along MetroBus Route 30 as embedded in concrete within septic
tanks across the street from a warehouse with an underground walkway which is otherwise undetectable by the
Houston Police Department without a spectrum analyzer and an ability to decrypt the unbreakable encryption
scheme.

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On 7 April 2013, I phoned a 9-1-1 emergency call to Houston Police Department to file a crime report regarding ongoing
‘slow-kill no-touch’ torture involving offensive satellite-powered directed energy, psychotronic communication, and
remote neural insertion assaults by a control room operated by Vincent Gotti, Vincent Gotti Jr, and Victoria Gotti at their
residence in Villa Park, California, in coordination with former Florida Governor and rogue HUMINT operative Jeb
Bush, owner/operator of Scherff Corporation, operating an impenetrable control room at Bush/Scherff Corporation in
Kennebunkport Maine along with other rogue HUMINT operatives populating control rooms at Gold Base in Hemet
California, U.S. Training/aka Xe/Blackwater Worldwide in Grand Prairie Texas and San Francisco California, et al,
while affixing ‘Al/SIMM GAME CONSOLE ON CENTERPOINT’ clamped on my brain magnetite which illegally
extracted/distributed the next generation of unbreakable encryption schemes per usurped 1988 top secret program at
Rockwell International and could ignite any one of the five nuclear suitcase bombs previously reported to CIA in
Arlington VA, via Freedom Of Information Act (FOIA) Appeal Case No. P-2012-01261, FBI’s Northwest Field Office
in Houston via documentation presented during walk-in visits, and Criminal Intelligence Division at the Houston Police
Department at downtown headquarters via Special Intelligence Report (SIR), Case Incident No. 010203812-A.

The 911 emergency call was immediately received yet I was told by a Houston Police officer on the telephone recording
the message that no spectrum analyzer is available to detect the satellite-powered assaults preventing me from filing the
crime report and the resultant ‘slow-kill no-touch’ torture upon my corporal form specifically my genitalia stripping me of
my natural ability and health to procreate.

The Houston Police Department must immediately acquire a spectrum analyzer, similar to an Anaritsu Spectrum
Analyzer for $100,000 as recommended to me by best friend and NSA Agent Christopher Jindrich, to defend the health
and natural ability and health of all citizens in the city of Houston as well as have the response time to apply solutions to
nuclear-related ordnance once implemented within city limits.

At this point, I am at risk of losing my life due to ongoing causal stalking, rogue non-consentual testing, and targeted
assasination by all of the aforementioned control rooms along with Project Artichoke, Monarch/New Phoenix, and
Targeted Killing program control rooms populated by rogue HUMINT operatives wearing the latest rogue, unauthorized
yet fully-encrypted Remote Neural Monitor (RNM) Viewers either by contact lens or nano-implant deeply embedded
typically in the left eye with instruction sets capable of comprising a Nuclear Ignition System, MASTER GRID CLAMP,
MASTER GRID SWITCH, Genitalia Database, and other PRE-PROGRAMMED SCRIPTS to initialize a targeted kill
sequence or other military crime also without detection, I firmly believe, by Central Intelligence Agency (CIA),
National Security Agency (NSA), and Defense Intelligence Agency (DIA) along with other well-defined military
intelligence agencies in the United States.

Per Truth Room By Grid Point technology assessments facilitated by CIA's Special Activities Division, the following
communication to the ‘fine line’ of our military oversight of the Department of Defense for the United States, otherwise
known as the Joint Chiefs of Staff, via the Office of the Secretary of Defense, 1155 Defense Pentagon, Washington,
District of Columbia 20301-1155, and to the attention of Secretary of Defense Chuck Hagel must be formally reported
and action must be taken to save my life and the life of my mother, Nelly Uribe/aka Nelly Rodriguez de Uribe, from
ongoing causal stalking, rogue non-consentual testing, and targeted assasination by Project Artichoke, Monarch/New
Phoenix, and Targeted Killing program control rooms populated by rogue HUMINT operatives who have taken graft to
benefit military criminals in possession of the unbreakable encryption scheme:

a) Please ensure the MASTER GRID CLAMPS applied to the brain magnetites of myself, my mother, and all other
family members are always actively engaged and in possession of ‘the fine line’ of our military oversight,

b) Please remove the AI/SIMM GAME console from the centerpoint of all Monarch/New Phoenix, Project Artichoke,
and Targeted Killing program control rooms that are interface with the MASTER KEYS referencing the brain
magnetites of myself, my mother, and all other family members as well as from all other control room centerpoints
which are rogue to our positions,

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c) Please remove the MASTER KEY LOCKS referencing the brain magnetites of myself, my mother, and all other
family members from all other control room centerpoints that are not at NSA, CIA, et al, and rogue to our positions.

Furthermore, for your review and dissemination to the Joint Chiefs of Staff and/or Secretary of Defense Chuck Hagel,
DIA, NSA, FBI, and CIA all-inclusive, please find attached the following documents that outline country-first issues
uncovered since the 9/11 Terrorist Attacks on New York City and the Pentagon via psychotronic communication per
Agents and Operatives of CIA's Special Activities Division assisting to preserve my position by facilitating Truth Room
By Grid Point technology and calling reads that help to identify and locate positions of those complicit:

1) Exhibit A. | Country-First Issues Including Rogue Nuclear-Related, Satellite-Powered, and Tradecraft Technology.
2) Exhibit B. List of Contact Agents and Operatives at CIA in Arlington VA.
3) Exhibit C. — List of Rogue HUMINT Operatives Complicit in Ongoing Military Crimes.

To fulfill the top secret instruction given to me back in 1988 at Rockwell International, I must meet with FOIA
representatives of NSA and CIA to facilitate me to our ‘fine line’ of military oversight, the Joint Chiefs of Staff, to
formally report the usurpation by George Scherff Jr/aka George Bush Sr and the Bavarian Illuminati including up to 100
Operation Paperclip clones and rogue HUMINT operatives of that top secret program that I worked on to create the
unbreakable encryption scheme based on my family bloodline which is the all-time penultimate weapon system
component that helped win the Cold War in 1991 as well as the country-first issues uncovered as a result of its illegal
extraction and distribution as part of a recently uncovered international Black Market of Encryption Schemes,
Psychotronic Balls/Globules, nano-powered Remote Neural Monitor (RNM) Monitor Viewers (contact lens or
nano-implant deeply embedded typically in the left eye w/instruction sets capable of comprising a Nuclear Ignition
System), CryoUnits of Bloodlines (human trafficked and stored at GenBase in Saudi Arabia, Gold Base in Hemet CA,
WWN in Culver City CA), Squeeze Bottles (reconstituted sperm from stolen bloodlines), and up to 120+ Nuclear
Suitcases reported to me via psychotronic communication per CIA's Special Activities Division which were implemented
and possibly initialized along the coastline of, and within, the United States and in countries around the world.

wel CO

Walter Uribe

former Department of Defense / Aerospace Engineer

Hughes Aircraft Company / Rockwell International

with the highest level of security clearances assigned (1983-1993)

6301 West Bellfort Street #183
Houston, TX 77035

(832) 374-3612 (cell phone)
wallyuribe@gmail.com

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This instrument was acknowledged before me on & (date) by

nda Nastosa, (name of signer(s)} LEYDY E VENTURA

My Commission Expires
July 27, 2015

(Signature of Notary)

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BREAKING TRADECRAFT: To date, the following country-firet issues involving the operation of an INTERNATIONAL BLACK
MARKET of rogue military-related and/or satellite-powered infrastructure, instrumentation, technology, and weaponry have
been identified with the help of CIA all-inclusive facilitating Truth Room By Grid Point technology assessments to my
position which leverage our ‘fine line’ of military overaight for the Department of Defense, otherwise known as the
Joint Chiefs of Staff, while being caugal stalked and rogue non-consentually tested by Project Artichoke, Monarch/New
Phoenix, and Targeted Killing program control rooms populated by rogue HUMINT agents and operatives with centerpointa
clamped onto the brain magnet ites of myself, my mother, and other family members to extract unbreakable encryption
schemes taken off our bodies using satellite-powered waveforms based on our family bloodline having the oldest, rarest,
and most complete set of haplogroups (and thought to be the exact bloodline to Jesus and Mary Magdalene) per usurped
1988 top secret program at Rockwell International:

1) the recovery of up to 120+ NUCLEAR SUITCASES mostly embedded in concrete within shipping containers and already
implemented along the coastline, and within, the United States and in countries around the world having satellite-
powered infrastructure for ECHELON and the Prime Meridian as well ag large deposits of oil reserves.

2) the recovery of illegally extracted and distributed UNBREAKABLE ENCRYPTION SCHEMES taken off the bodies of myself, my
mother, my other family members, and other TARGETED INDIVIDUALS enhanced with rogue algorithms using: .
a) waveforms such as argon, gamma, infrared, iridium, laser, et al, via satellite.

b) hand-held microwave dish.

3) the recovery of unauthorized, rogue REMOTE NEURAL MONITOR (RNM)} VIEWERS, contact lens or nano-implant deeply embedded
typically in the left eye w/instruction sets capable of comprising a NUCLEAR IGNITION SYSTEM, that have been distributed
among Bavarian Illvminati in coordination with Al-Qaeda operatives such as Osama bin Laden, Mohammed Atta, Melinda Atta,
et al, per an international distribution list maintained by DCI Richard Gehlen.

4) the recovery of MASTER GRID CLAMPS used:

a) ag part of 'a nuclear sandwich' implemented within the Global Information Grid and used to block out all other Net
Centric Warfighter framework channels as well as psychotronic 'connects' from the so-called NWO Psychotronic Pipe to a
control room centerpoint clamped onto a grid section linked to a grid point associated to nuclear ordnance such as a
nuclear suitcase.

b) by rogue HUMINT operatives to clamp directly onto the brain magnetite and extract secure access codes from military
defense contractors and engineers working for the Department of Defense which can then OPENLY DISTRIBUTED within rogue
‘tap-ing' to the so-called NWO Psychotronic Pipe associated with the corepoint/centerpoint of ECHELON and integrated
with Net Centric Warfighter framework and the Global Information Grid.

S) the recovery and secured-locking of a Remote Neural Monitor database containing the unique identifiers used with
regue algoritms of genitalia for all well-defined Americans which allaws rogue HUMINT operatives “=. RNM Viewers to
clamp directly for extortion and/or stripping of reproduction within seconds,

6) the recovery of unauthorized, nano-powered, INTERCONNECT DEVICES, i.e. 'nano-connects', affixed fe onto control
room centerpoints which facilitate other:
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a) control room centerpoints.

b) rogue HUMINT operatives wearing RNM Viewers and/or operating psychotronic balls/globu
¢) subversive access to directed energy actuation systems on targeted satellites.
d) subversive access to telemetry channels at satellite ground stations.

7) the 'on-the-fly' creation of private networked segments within Net Centric Warfighter framework by’? ate ml
contractora such as Scientology Inc., Scherff Corporation, Mitre Corporation, GK Sierra, et al, or rogue H
operatives to illegally distribute INSTRUCTION SETS capable of comprising a Nuclear Ignition System, caching ro- :
linguistic programmed interfaces to apply Truth Room By Grid Point technology or keyword search threats, erasing HUMINT
collection er psychotronic defensive collections, inserting or replacing visual cortex HUMINT collection with other
images, etc.

8) the immediate removal of Global Information Grid and Net Centric Warfighter framework integrated with ECHELON
involving rigged satellites, rigged telemetry channels at Interna Ground Station in San Jacincto CA near Gold Base in
Hemet CA with the loss of the unbreakable encryption scheme along with master clamps that immediately threatens our
ability and health to naturally procreate as well as our ability to launch, maneuver, or navigate unmanned aerial
vehicles (UAVs) or drones for our military defense and national security.

9) establish SYSTEMS TO RECORD EVIDENTIARY IN THE ELECTROMAGNETIC SPECTRUM FOR GRID POINTS AND GRID SECTIONS OF THE

GLOBAL INFORMATION GRID which are available on websites for local law enforcement that can be credit card purchased for
a given time period by well-defined Americans to create notifications and triggered alerts for detecting:

a) ‘slow-kill no-touch' directed energy assaults on pre-borns, children, and adults at home or on travel by airline
flight, ship, car, et al, via satellite, active denial, taser, microwave dish, et al.

b) radon seeping into a residential property.
¢) radiation upon nuclear reactor failure or detonation of nuclear ordnance.

10) establish investigative, judicial, and legislative RECOURSE to empower first-responders, victims, and other well-
defined Americans in a democracy to report satellite-driven crimes or crimes involving REMOTE ELECTRONIC HARASSMENT.
EXHIBIT A.

Country-First Issues Including Rogue Nuclear-Related,
Satellite-Powered, and Tradecraft Technology.

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BIE|dq POOMUSAI / | 9p Je OPUOD JaAa}-14} Ul PAAl] OYM UBsUEr U@Ydals jo ayEIOOSssy Jseg-
"Ua|YaD PAeYory JO ayerooss\y- syeNy ISHOUAL | 16 - aAneisdO epaey-ly / EpUI|aW ‘enV 6

‘JeLoday jeeg seul) sajabuy so7-
“peyuedg 907 pineg pue yayueds pueyory Jo swoy au) Jeau zI/a4 S07 Ul Parl] OUM COL # EXOUDIUY JOalolg Ul aANeIadO / JUaBYy YID enBoy-

F10"
“syOeny JSWOUEL 14/6 24u} Buunp SAN ul sBulpling
JO UON|OWSP OY} U! Psip OYM sJaquaLU AjlLUB Bye] J9YJO LOY S}diaoas yUueg a]0}S-
“YOUNZ Ul PUBLSZWMS Jo yUeG payluy
ye synofed payisodep pue ulajsiaalig pleuos] Woy aBesoaod soueinsul D1 MA paseyoind-
‘OUE![9ISED UCI JO aJeIDOSsy- SHOUDIDY JOSlOld - BANEISdO WID/ 114d ‘UOSUDY 8
“BSYWULUOD pug PeIS JO syalyD Julor ay} UO Buyedioiped julodiaj}us0 uo peey Buljejou, & $,oH-
310¥u
‘oulnby "1 J@eysIW [B1eUss YSN Jo UOS pauOD- JBseusy jueusjnel7/ S jeeyoiy) ‘ouinby Z
‘BAY JUOLUIBA, PUB PAI ZI[94 SO7] JO UO!}Oes2a}U! 84} O} JUBOe[pe DesS-ap-jnd e se9U ZI}94 S07] UI PaAl| OUM COL# ayoYoIY yoalo1g / aaneedo-
F108
OMeY WYO Jo PUBL IS-
“uasuar uaydejs jo ajeinossy- eulswyg ‘ajyebajddy 9

‘uasuar uaydays
Jo/pue uajyad pueyory Aq papiaoid JamalA WINY PaeMmod-oueu pue ainqo)6 / (Jeq S1U0jOUDASd YIM ZI|a-4 SO] UL PAAl] OUM OOL# SNOUT pololg / aayesedo-

d10uY

‘SOUlJ-X JO UOSJapUYy Uel||I SSel]0e Jo 1a}sIS JaBUNO,-
uajye epulq jo syewsse[o- ayoudiply joaloidg - aajesedg yIQ /euuea] ‘uosiapuy S

“B9B[q POOMUaaID Bulky JOOy puz UO Buipjing jueWpede Aw ul perl OUM COL # SHOUD yelodg / aAeladO-

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d10¥
ysng gar Aq ynesse jenxas Jo WIPIA y- GdvV1/umMeq ‘uOsJapuYy v
“Apog Aw Yo uaye} sawayos uoidAioue ajqeyeeasqun Bulnquysip pue Bujoeyxa AyeBai! pue ‘ON ‘66e1g YoY ye Buljsa] jenjuasuoo uoU anBo, ul panjonul-
dou
Ip oueyayseg yuel4 Woy yeib yoo] - ON S6e1g poy - jauojog / gq uYyor ‘JapUeXely €
‘UOISIAIG LNIINNH 891Aag Sulsapue|d |eUudeN Jo [Dd-
d1OY
‘uoBaiqy eueid jo 19js1S-j/eH- UOISIAIG LNIAINH SON JO 100 / epur] ‘uoBaiqy Zz
‘WIO ye seBeueWw sul-juoi4-
410d
‘oulnby oublueg sojyeyiq auidiyiug ‘uasuer 9 ‘Ig ysng 5 Jo auO)D dijoadeg uonesedo- JaBeuew aulj-juosy vig /eueiq ‘uobagqy +
dIHSNOILV13a VAV ALILN30I YSWYOs G3SYYNDOO SWI ANIL LV SANVN INSYYND ON
(NOILLVNISVSSV YOd GALFIONVL WT FIHM SSFWDOdd NI IST1 ONIMGOM) SeullD ATejqiiin bulobuo uy HOAWOD S8ARCISAO INIANNH 8nboYy JO ISI "D LIGIHXa °

het. FCO -AD~ S/ eh ~ONW aAsyD
“"UOLJGOSUOD JO) JUsWSJINbal UaALp-Bely ym Add 0} pasnyas oyM UOREULOPU! aAI]eIado Joy esnoYauIAA Ay pa|Buedjs pue paljiy-
‘aingo|B 7 eq DJUOWOYoASd YUM ZI}94 SO7 Ul PAA! OUM OOLF SxOUDILY JOsloud Ul SANeIEdO LNINNH enboy-

a10"
‘Je Je ‘sabber yy ‘ussuar “9 IS Yysng ‘9 Jo puejbuy Woy auojo diyosadeg uojesado-
‘jouy Assei6 anoge Apauueay “4 uyor juepisaig jo uOl}eulsesse
24} U! JOI|dWI0o sem OYM alJ984 PiIAeg aUO/o dijaedeg uOI}EIadO Jo JeUJONG-}HEH- J9N1PO souabi/}a}U] QIN / UOJSUIAA ‘Yoseg Sl
dIHSNOILV13y4 wiv ALILNAG! YaWeOS GSEYYNDOO SWINO SWIL LY SWYN INSYYND ON

‘WesBOld YOIEUOW Gd / UBWSIaAy OUZ ‘uoND Apuey ‘7 ‘uoyeg
WEIN JID Bd110q Os|e BulajOAu! aul|pooig siy palajsanbes pue yuawwubisse Sul[poolq ay} yno pajop ouMm esouy ysulebe ayey awi9.)xa 0} pa| yey} UOIIPUoD
jeaGojoyodsd e Buyeass uonOnpoidad jeunyeu jo wiy Buiddiys aay aulewoy pue anuaay uoj}Gulxe7] Jeau asnoy Si 2 WNINO 10d JO Juaanow du} BUIAjOAUI
jusWUBisse aul|pooiq eB no BulAued Jo WIOIA B SEM OYM JaLOg JaydoysuUD J8IYO GdV1-xX8 anBos Hulbesangy ui ajos Avewud e peXejd Buiaey powooy uyniy-
“AU [eMyDOY Fe
WweBoid jouoes do} 996) pedinsn sed auljpoojq ino Joy ‘aqui AjI@N ‘JeyjoWW AW pue aw payjeys jesneo oym wesbold YeUOW/Gd77] Ul aajesadO INIWNH enboy-
“WOOs JO1jUOD LUeJBod YoseUuOyy WOd “If UasUar MAaYeYy 37
pue aayeledO INIWNH en6o. wo aw ysuebe uoeuisesse JoesUOd dn yoo} OYM 1a91O aoUaBiaqu] ‘}deq ao1]0q sajabuy so7 / jueuaynaiy-

d10u

‘pL Lady Aw enoge p1z# dy ul pant] OUM eg “7 pine Jo Jeyjo1g-
‘uasuar uaydaig Jo ayelo0ssy- TALNI dv TF MeuneEW ‘Weg yh

‘mesuleyo @ Bulsn |Jelujwin||| UeUeAeg JaUjO puke ‘Je Jo ‘uasuer UsYyda}g YM Buoje seBap seq ul inyeys sedn| payepinu Buiney pawooy ujni-
‘OPUOD [BAS/-l1} & Ul UaSUar UaYda}S Woy }@a]s BY} SsOlde ZI194 SO] Ul Panl| | Baym YauUag ‘q UYOr Aq TBLNI CZAODOIY ow! peddey
SAISN/OUL-HIE WID WO UOHOS}Ep jNoUyM JayyNy duels 0} souapises pue UoOas PLB JayjoUe 0} 9}200)81 0} P9ds0) SEM | [GUN UONISOd AW BulUlejUOD JUIOdayUao
PundoJe WIAIS-I'v Buiddeid wood josj3u09 wes6oid xiugoug MAN/YDIBUOW e@ ul ayjeuBew ureiq Aw oyuo padwejo uasuar sayeyy |eeyoiW alum | LH IdYy
anode 7) Z# Idly ul suleysdn samal~A IWWNY & UJI punose Bulddoy pue Bulouesd asiadxa Aseyjiu, yim aw payjeys |e2sneo oum aAesedO LNIWINH enboy-
‘Jeuoleusayul jjamyooy ye weiBoid
ya19as do} gg6| pedinsn sad uasuar ueydajs Aq pajeredo ysip SABMOIOIL @ YM Apog Aw woy payoe]xe auuayos uodAioua ajqeyeaiqun ay} paulejqo-

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d10u
‘Je 18 ‘}apoy abioay ug ‘ajabuay jasor iq
‘uasuar Biel IS ysng M‘H abloey eyeyr yuayoS aBioas uM Bugle esnoy
SALYS9q 94} Je HOYS Yjeqezi|3 Jo Jepunw ay) ul payedioed oum YYOMLIN VSSAGO
40 JOQUUSLU pe eg UYOr ysiBojojUAaIDS jeaIpeu pue ‘EDO SS ‘HEUILUNI|| UEUBARg Jo UOS-
“OMION TALNI Hodis
/ dog Burma, yoo Lisg sHoddns jeu) seywsue} paiamod-ay|jayes & UIM WOO!
jO1jU09 punoiBapun ue ul paseous aseojins Jeajonu ue jo ays ‘aBpry Aqny pue ayeus
eng 9} }xau S| sjje4 eGoyekng aeym OYep| U! |/SOWy |SEYSIY WID/G JO PUaLY PooypllyS-
Jamal WNY/M Jepods YSN-
4@A0SISPUN TALNI AdVv1-
‘If QOD uyor jo ayeiossy Jseq-
‘uasuar Uaydals jo aye!sossy- Jayods WSN / 1 plaeq ‘eg send |
‘OIUND S81q JesuNs Woy Wog-aid Aw Jo  sisejueosolULUE UBjo}s YIM payeaiood Ajjed1UaBOAID OUM JOUDULY SMON A LL} pue sAijesedO INIINNH enBoy-
410u
: ‘Welbog YQIEUCW Gd / UBLUSISAA SUZ JO ayIAA- JOYOUY SMON ALLY / uelI- ‘aueqeg ZL

Case 4

“uasuensiys Auol pue ‘af mos uYyor ‘yesoaq UYOr ‘AUNeH,O qog YM

Bugle eyerysny jo jse09 Ue}sem ay} Yo punos6 Buiduinp Jegjonu, @ u! eoueupso Jeajonu Gurduunp pue ‘Buiaow ‘Buyeays ul payedioed Bulaey pawooy uyni{-
‘uasuelsuyo AuoL pue ‘Ip MOS UYor ‘yeJoaq UYOP ‘AyNeH,C qog uM Huge peouey Jealony punosBiapun yedouo,

WOd} SQUBUPJO JEB[ONU UB/O}sS YM eyeysny ‘suds sory ye Aywioey NOTAHOA pebeseng] 0) payduaye oum oOL# ayouomy Jalolg / aanessdO LNIWNH enboy-

310u
“OURI|BISED YURI JO o]eIDOSSe Iseq-

‘uasueHsuYd Auol jo ayeloossy- ayoyosipy yalolg - aajesedo YIN / epuewy ‘puleg LL

]JU] [EMyOOY Je wWesBod
ya10as do} gg61 pedinsn Jad saulj|pooiq yo sylunoAuo pue awayos uoNdAsoue alqeyeeiqun um pappaquis seingo|6 o1uosjOYoAsd eniagas 0} SUD! dijosedeg

Wo}}2Je8dQ JayjO puke 4g YsNg "MH aboan exer Jeyos aBioad yy elqesy Ipneg ul Ayjiogy asequag e ye Bujsow HeuUlLUN||] UeWeAeg Eg6| papusyy-
‘dujsiye AN aye}sdn ue ye pseoge siaBuassed jje pang pue g4-yy Aq pally pue GZ) SEUILY PayUA payoeliy oum aale1adoQ epaen-|y- .
3104
‘uasuat “QO ‘IS Yysng ‘5 jo JajyGnep pauojo dijquedeg uolesado- ‘ou ABojojualds Jo sauMO / Bd/2ld BseEqieg ‘USsNg €z

‘BuroGuo-gg61 ul UOHeASIUILUpe JeNnUaplsed sty Jo yesuo ay} WO IS YsSNg ‘WH a610ED eyes ayo abloay Ag pepuewap

SIBPIO SAIINAx3 Jed seyjauBew ues say} JUIOdIa;UE9 O}U! paxoo] AjjeBall! PEY YOIUM L¥# LUCY JO4JUOD aSNOH ayy”, LO soyJOUUpUeLB pue saujow Aw payejs jesneg-

‘JEUOHEUIE}U| |]aMyxOOY Je WeIBoId Joes do} ggg) paedinsn Jad aweYoS UONdAOUAa ajqeyesiqun YIM peppequa sainqoj6ysijeq D1UojOYoASd pa}nquysip Ajyjebaii|-
“aBewew aiojaq ip eyog abioag se us usNg “AA H aB10a5D Jo AWUap! ens) ou) Jo abpajmouy Bulrey uoisiaig sano jeloads s,yvid Aq pawooy uyns]-

ge,9 of 18

310"
‘IS usng "MM eBl0ag
eyealooud Ajjeinyeu 0} uoyIUeY e6i0aD Joye ym Buoje juowabueue yoo|pem
~J0-4N0 Ul PSA/OAU! PUe IS Ysng Jayj/eAA Yeqo} eBioagd eyeyr IEYyOS aHo0aD Jo ayAA- eieqieg ‘IS ysng ce
Aouaby aouabl|ezu] asuajeg - pasa: jesauad y] / pfeuoy ‘ssebing LZ
“weiBoid

UOIBUOIN Gd AN PUB Ad¥T 49 PUBLULUOD U! aILUM WO JeU|Ag U! aNyISU| PUB’ |IGAS Je OLUM Gd Tule}sajdiuig ouy UM Buoje ‘aqun Allan ‘JeyJoW Aw peynesse Ayjenxes-

‘IIL UoNeIg SaeYyD ayeaso0Id Ajeo1UaBOAU9 0} | pasn pue (gg6) ‘egE1) AUedWo5 yeloiy soyGny pue (296]) jeuoNeUajuy j|aMyooY ye Uaye} ajdiues poolq Aw 9]0]S-

10"
MOD UYOr Jo ayeIossy-

‘lI| UOWeIG SBEYUD UOS PauC|o jo JOJeaIo D1UaBOAID- J8IYD 890d Ad¥1 / WEIN ‘uoeIg 0z

‘uononpoidai jeunjeu
Jo Burddijs so/pue uoneuisesse payebiey Aw ul paajoaul aueseq Anuanbesqns pue uonjeuawunjsul Xi 0} Pawy OO L# eyOUDINYY jOslolg UI aAeIEdG INIWNH anBoy -

310u
‘}OOYydg YBIH e[OA07 papuaye pue ary uosuolg pue aay Ul|yUeJ-] Je payeoo;
BUD Ayqa|eg ABojojuaiog ay} JEU Bale 219-4 SO] 4) UI PAAl| OUM Auedwo9 yesoury
Sey6nH Jo/pue jeuoeWayY |}aMyOOY Je Uaye} sides poojg uajoys AW pue uoyeig
WII J914D B2110d GdW1_ ‘uasuer "9 ‘IS Yysng ‘5 Jo uOs paulo dijojadeg uoleado- axoyoiy yoalold - sAeledO WIO /SAUeYD ‘||| uoyesg 6L

“sueak +0G JO} sIayjo pue ezuUe] Wepy

‘sUeqoy qooer ‘selwjo} uebey sewer ‘uesseH JepiN ‘uOsUeW SeLeYyD ‘UeWIS UWIS SUIsesse paljo.jUCS Buldde:d ajo, ueoyIUBIs e pated Ja[jo4u00 ayousiny joeloig-

‘PLOY! ajoiiged uewomssaBuog Ysimer Jo uO!eUIsesse ay} Jo

ynsund uj Jauy6no7 peer ulsesse payjosjuoo uo ABojouyoay Julodiaquag uo deg Buruly,, Buse} Ajjenjuasuod-uou anBor Joy ajgisuodsai JajjoJjU0D ayoyoIp oaloig-

d10Y

ayOYsINY elo - JoyesadO VIO /“MISCUSIA, ‘ajepSurwoojg gl

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"sJeak +g JO} Si9U}O pue ‘sUsqoy qooeP ‘ueSSeH |EPIN ‘uosuRW] SOLEYD ‘UeYWIS UBUYIS SuIsesse paljo;UCo Buiddaid 9jo1 jueoyiUBIs e paxeld sajjosjU0o ayoysipy joeloig-

‘HO payew sBuyjy YM Joyew yoeIq

ay} uo ,dn Bund, pue yeu! pilyssyjoy pue 1942} siy Jo JUNODDe YUE eu) Woy uajo}s AduoLU Wid paseyoind Auodeam Arey YM SBulOOYs OpesO|OD BsouNYy au} jo
ynsind ul sawjo}] uebey sawer ulsesse pajjonuoo uo ABojouyoa} JuOdajusD uo ded BurjulyL, Buysay Ajyenjussuod-uou ano 10) ajqisuodsau 49|]0sjU09 ayoysIny joelolg-

‘ansst ue osje si Ajddns 19}eM ay} Jo UONeU!LUE}UOD B19UM

pasjsonbes seul|poo|g say} aaey pue ease pue|buy Man ay} Ul SaqUNWULUOD YSIMEr }SEPjO AU} JO BU Jo UaIPHYD aU; JsUIeBe 15 ‘uMOMeN Ul e6eeul| Buluuns-ysabuo]
94}, Burney Jo ynsind ul aw aul|poojq Jo yed se WeUIWUN||| UeeAeg Uayo}, pue antjeJedo YID Jeo) e ‘ezUe] J9}8qg YIM UOI}EUIPsOOD Ul BZUe] Wepy UIsesse paljoujUuCO

JO UJe1q OU) JO qo} Ja}UBd 84} UI PayUE|du! City a4) 0} ayjayes e1A SulyjAue |/p4 pue SAoww, Jas UORONASU! By) BuIPpaquue Joy a[qisuodsal Jaljo. QUOD ayoUoILY Jalo1g-
“Zij@4 SO7] AY} UI Peal | ours

J@SAW PUE RU] |aMyooY ye WesBold Jeloas do} ggG| au} Jo uonedinsn ay} souls sueak +¢Z JOJ ‘aqui AjIaN “Yayo Aw ysulebe ayousmy yoaloldg ul JOJEIAdO LNIANH enboy-

ATO"
‘ajaBuey jesor sq ‘uesuar 9 ‘IS ysng ‘9 jo su0|9 dijzsadeg uoe1EedQ-

‘Je J8 ‘eweqoO YoReg JuepIsald pue uasuer UaYydays Jo JayjosG-HeH- ayoyoipy yosloig - Jo}e18d0 VID / “Lsaydoysuyg = ‘arepBuiwoo|q Zt

Case 4

“AUI|POo|q Uajo}s AW YM ayeadoId AjjenluaBoAIO 0} siaquuaw ABojojualos QOSz 0} dn pue uoliw L$ pabseyo-

VO SHEUSAIS U! DIUID GaJ4 JOSUNS Woy WOg-aid AW Jo SiseyUsoSOIULUe B[O}S OYM UBIPIeENS YSO/ABo|O}UAaINS-
‘|2 Ja ‘sainqoig

/ S[12g D1U0.0Y9ASq ‘sIOMAalA WNY Palemod-oueu ‘seseoying seajony ‘sawayos uondAioug JO JOMIEW YOR|g |euojewajut ue uasusr usydajg YM Bugle payesedo-
“SHOEPY YSOMIL 11/6

0} JOU jJU] ]eMxOOY Je WesGold Jes0as do} ggg) padinsn Jed ysip SAEMOISILU Pjay-PUeY YM payee Apog Aw Yo awayos uodAioua ajqeyeaiqun pauleiqo-
‘uasusr Usydals ‘UIPJeEH Ue] ‘SSOD Jao (OQ JeWO) ‘Aasdwag ulpeyy jeseuasy YM

Bugle uojeuisesse pajabie} 10) aw ysurebe ayoyoiuy yelorg uo yo pauBbls oym jueby INIINNH enboy Arewig pue UOISIAIG NINH eles auNsepuelD jeuoijen Jo |OQ-

A10OY
“ua|Yyed pleyory ‘uasuar ‘9g ‘1S Ysng ‘d Jo auo|o dydsadeg uoNeisdo-

‘Je J@ ‘ewego yoRIeg JuapIsald pue uasuer UaYyda}s jo sayjOIg-ye}}- UOISIAIG LNIAINH SON J 19 / ‘Guyor ‘neuueg OL

a
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“uoBeuad oy} pue AID WOA MEN UO SHORPy SOM9L | 1/6 JO JOJesIdSuOd-09 jeulWD-
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JOPUOWY BOUSIDS UBI}SLYD JO yuspisaldg pue quaby Vid j Auol ‘USSUBNSHYD s¢
‘uobejuad 9} pue Ay 4AOA MON UO SyHoeYY ISHOMSL 11/6 JO JOyesIdSudd-09 [EUILULZ-
FI0"
UAB] 4 JayuUuer BAeIAdO ID /Jeyuuer ‘ouRyajseo pe
WUN WODOS VID / Wey “UP OURaIseD ee
“suequuau Alley JUj}O pue ‘aquA AION ‘JayjoW Aw jo UoeUIsesse pajebie} s0/pUe Buljeys |esned ay} Ul PaAjoAul Os]e
SWUOOI [OJJUOD WWeIBod XIUBOYd MON/UDJEUOW] PAWWOJEW PUL ‘OYA IALNIOD Ig4j ‘exoUdINY JO8lo1g WID Jo seanesedo pue sjuabe soujo pue ‘veybeyes pueyory O39
XOWAX/Yoahy ‘eJEWENOW HEqoy jueby igj ‘Bullsod peqoy juaby gy ‘AuneH,C gog anlnoaxy sajeg uoNONpold jSOq GZS pue aby OYdISLNION Ig4 vane] NeW
Joyouy ule MoYs Aepol ON UM Buoje e1ouaje jo jusuidojanaq pauueld seJAeyy 84} Ul PaAi| | aYyM pem-o}-diysuoleyje jo yNesse jenxas jo Jauueld jeUlWD-
“SBulpqing AyD JOA MEN JO UONOLUaP ayy BuNeBbiey Ajeoyloads uoBejusg ay} pue AID 410A MAN UO SyOeYY JSUONAL | L/G JO JouUe|d-Ja}sew jeulWD-
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UOISIAG LNIWNH SON Jo 100 / uel ‘ouela}seo ze

‘|@ Jo ‘ssoyORsjUOD Aveyplu ayeaud ‘suojoes}U00

asuajap Aq yINg Swaysks Uodesm 0} sapoo ssaooe ainoss Buyoesyxe Ajje69\]1 a11ym JYBIsieAo AseyILW Jal]-do} GOg Buraaqns dINV10-4d 9} T3LN} Peuysp-|jam YM

Buole vid Aq Ayiqedes Aue nou wromawey Ja] YB epg 9jU9D JON BIA eljeyUab Aw UoNoes puB Aue uo umop duuejd AjjoauIp UBD JEU} SdINW1O MYALSVIN Jamal, (WNY)
JOWUOW JeiNeN s}oWayY pasemod-oueu 'GSZ7IMOHLNVNN Silas pue uoeulsesse Aw pauajeasy) Sey OUM OOL# JO /P# aHOYOINY 9[O1g Jo JoyEIadO / juaby y1D enboy-

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o- -
~ “‘plom ay} punole
5 SOLJUNOD JOYJO Ul PUL SA}E}S Payuy Oy} ‘UlYyM PUe ‘Jo aUI|JSeOo au} Hucje suojeziemul ajqissod pue suoeyugwa|diu! soUeUPJO JeajONU jo BHpaymouy ul a]|UM SBWOd oO}
E suoljesouab Joy ‘2 J8 ‘ysng qa ‘snaeijed |[eMoH plAeq ‘eweqo yoRJeg se YONs JS YsNg ‘AA ‘H aBloag eyeur suayoS aBloay jo Buudsyo pauojo dijaueded uoljeiado
5 Burajoau! suoyoaje jenuapiseid Burwoodn Jo; uoysoddo jeojod uesqnday pue yesoowagq au} Bulaowia JO JUS}U! Sy} JO} SHOR xesyJUY LOOZ JO JouUeld jeUILUD-
oO “EM @U} JO Jemod, 8y}] Bujoaye asuajaq jo jusWPedaq 34) 410; }YHisiaAo UlEWOp 48}-do} Jo Aull BUY BU}, 10}
A SaAyoUe payisse|d HulAojsep Buipling ZO.LAA Yslowap 0} sanisojdxa pasn Bulaey Ucbeyuad Sy} Pue AYO HIOA MAN UO SHOR JSUOUAL 11/6 JO JoJesIdSUOD-09 [eUILULD-
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SS ‘uoBejudd ay) pue AyD YO, MAN UO SYORPY ISUOUE! | 1/6 JO JOJesIdSUOD-09 |BUILUD-
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oO “UONDS}109 TNIANH }eHXe AjeaneBau 0} yuUe]g-oueu, }daoxe
y Wynoge Buryjou pip oym uognsaxa pue Buiuueld ayy Jo abpajmouyalo) Bulaey ucBe}Usg ayy pue Aid YO, MEN UO SHEP JSUOUSL | 1/6 JO 1OJEsIdSU0D-09 |BUIWUD-
Aa10¥
QD “ar usng “AA 8610E5 Juapisaid “S'f JEU} Jo aM pue Ape Jsulq UUOJ- aajessdo yIQ/ eine] ‘ysng 9z
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